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                       IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

DEBORAH LAUFER, Individually,                       :
                                                    :
               Plaintiff,                           :
                                                    :
v.                                                  :   Case No.
                                                    :
SKDJ HOSPITALITY LLC, A Connecticut                 :
Limited Liability Company D/B/A TRAVEL              :
INN MOTEL,                                          :
                                                    :
               Defendant.                           :
                                                    :
                                                    :

________________________________________



                                         COMPLAINT
                                  (Injunctive Relief Demanded)

       Plaintiff, DEBORAH LAUFER, Individually, on her behalf and on behalf of all other

individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendant,

SKDJ HOSPITALITY LLC, A Connecticut Limited Liability Company, (sometimes referred to as

“Defendant”), doing business as TRAVEL INN MOTEL for Injunctive Relief, and attorney’s fees,

litigation expenses, and costs pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181

et seq. (“ADA”).

1.             Plaintiff is a resident of Florida, is sui juris, and qualifies as an individual with

               disabilities as defined by the ADA. Plaintiff is unable to engage in the major life

               activity of walking more than a few steps without assistive devices. Instead, Plaintiff

               is bound to ambulate in a wheelchair or with a cane or other support and has limited

               use of her hands. She is unable to tightly grasp, pinch and twist of the wrist to
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         operate. Plaintiff is also vision impaired. When ambulating beyond the comfort of her

         own home, Plaintiff must primarily rely on a wheelchair. Plaintiff requires accessible

         handicap parking spaces located closet to the entrances of a facility. The handicap

         and access aisles must be of sufficient width so that she can embark and disembark

         from a ramp into her vehicle. Routes connecting the handicap spaces and all features,

         goods and services of a facility must be level, properly sloped, sufficiently wide and

         without cracks, holes or other hazards that can pose a danger of tipping, catching

         wheels or falling. These areas must be free of obstructions or unsecured carpeting

         that make passage either more difficult or impossible. Amenities must be sufficiently

         lowered so that Plaintiff can reach them. She has difficulty operating door knobs,

         sink faucets, or other operating mechanisms that tight grasping, twisting of the wrist

         or pinching. She is hesitant to use sinks that have unwrapped pipes, as such pose a

         danger of scraping or burning her legs. Sinks must be at the proper height so that she

         can put her legs underneath to wash her hands. She requires grab bars both behind

         and beside a commode so that she can safely transfer and she has difficulty reaching

         the flush control if it is on the wrong side. She has difficulty getting through

         doorways if they lack the proper clearance.

2.       Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

         "tester" for the purpose of asserting her civil rights and monitoring, ensuring, and

         determining whether places of public accommodation and their websites are in

         compliance with the ADA.




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3.       According to the county property records, Defendant owns a place of public

         accommodation as defined by the ADA and the regulations implementing the ADA,

         28 CFR 36.201(a) and 36.104. The place of public accommodation that the

         Defendant owns is a place of lodging known as TRAVEL INN MOTEL

         HARTFORD, at 100 Weston Street, Hartford, Connecticut and is located in

         HARTFORD COUNTY (hereinafter "Property").

4.       Venue is properly located in this District because the subject Property is located in

         this district.

5.       Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

         original jurisdiction over actions which arise from the Defendant’s violations of Title

         III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28

         U.S.C. § 2201 and § 2202.

6.       As the owner of the subject place of lodging, Defendant is required to comply with

         the ADA. As such, Defendant is required to ensure that it's place of lodging is in

         compliance with the standards applicable to places of public accommodation, as set

         forth in the regulations promulgated by the Department Of Justice. Said regulations

         are set forth in the Code Of Federal Regulations, the Americans With Disabilities Act

         Architectural Guidelines ("ADAAGs"), and the 2010 ADA Standards, incorporated

         by reference into the ADA. These regulations impose requirements pertaining to

         places of public accommodation, including places of lodging, to ensure that they are

         accessible to disabled individuals.




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7.        More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

          requirement:

          Reservations made by places of lodging. A public accommodation that owns,
          leases (or leases to), or operates a place of lodging shall, with respect to
          reservations made by any means, including by telephone, in-person, or through a
          third party -
                  (i) Modify its policies, practices, or procedures to ensure that individuals
                  with disabilities can make reservations for accessible guest rooms during
                  the same hours and in the same manner as individuals who do not need
                  accessible rooms;
                  (ii) Identify and describe accessible features in the hotels and guest rooms
                  offered through its reservations service in enough detail to reasonably
                  permit individuals with disabilities to assess independently whether a
                  given hotel or guest room meets his or her accessibility needs;
                  (iii) Ensure that accessible guest rooms are held for use by individuals
                  with disabilities until all other guest rooms of that type have been rented
                  and the accessible room requested is the only remaining room of that type;
                  (iv) Reserve, upon request, accessible guest rooms or specific types of
                  guest rooms and ensure that the guest rooms requested are blocked and
                  removed from all reservations systems; and
                  (v) Guarantee that the specific accessible guest room reserved through its
                  reservations service is held for the reserving customer, regardless of
                  whether a specific room is held in response to reservations made by others.

8.        These regulations became effective March 15, 2012.

9.        Defendant, either itself or by and through a third party, accepts reservations for its

          hotel online through one or more websites. The purpose of these websites is so

          that members of the public may reserve guest accommodations and review

          information pertaining to the goods, services, features, facilities, benefits,

          advantages, and accommodations of the Property. As such, these websites are

          subject to the requirements of 28 C.F.R. Section 36.302(e).

10.       Prior to the commencement of this lawsuit, Plaintiff visited the websites for the

          purpose of reviewing and assessing the accessible features at the Property and


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    ascertain whether they meet the requirements of 28 C.F.R. Section 36.302(e) and

    her accessibility needs. However, Plaintiff was unable to do so because Defendant

    failed to comply with the requirements set forth in 28 C.F.R. Section 36.302(e).

    As a result, Plaintiff was deprived the same goods, services, features, facilities,

    benefits, advantages, and accommodations of the Property available to the general

    public. Specifically;

    A. The websites located at: https://www.travelinnhartford.com/en-us, and

    https://reservation.booking.expert/ did not comply with the Regulation because

    they did not identify accessible rooms, did not allow for booking of accessible

    rooms and provided insufficient information as to whether the rooms or features at

    the hotel are accessible. Hotel amenities, room types and amenities are all listed in

    detail. No information was given about accessibility in the hotel other than the

    statement “Facilities for disabled guests”.

    B. The website located at: www.expedia.com, did not comply with the

    Regulation because it did not identify accessible rooms, did not allow for booking

    of accessible rooms and provided insufficient information as to whether the rooms

    or features at the hotel are accessible. Hotel amenities, room types and amenities

    are all listed in detail. No information was given about accessibility in the hotel

    other than the statements “Wheelchair-accessible path of travel” and “In-room

    accessibility”.

    C. The website located at: www.hotels.com, did not comply with the Regulation

    because it did not identify accessible rooms, did not allow for booking of


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    accessible rooms and provided insufficient information as to whether the rooms or

    features at the hotel are accessible. Hotel amenities, room types and amenities are

    all listed in detail. No information was given about accessibility in the hotel other

    than the statements “Wheelchair-accessible path of travel” and “In-room

    accessibility”.

    D. The website located at: www.booking.com, did not comply with the

    Regulation because it did not identify accessible rooms, did not allow for booking

    of accessible rooms and provided insufficient information as to whether the rooms

    or features at the hotel are accessible. Hotel amenities, room types and amenities

    are all listed in detail. No information was given about accessibility in the hotel

    other than the statement “Facilities for disabled guests”.

    E. The website located at: www.orbitz.com, did not comply with the Regulation

    because it did not identify accessible rooms, did not allow for booking of

    accessible rooms and provided insufficient information as to whether the rooms or

    features at the hotel are accessible. Hotel amenities, room types and amenities are

    all listed in detail. No information was given about accessibility in the hotel other

    than the statements “Wheelchair-accessible path of travel” and “In-room

    accessibility”.

    F. The website located at: www.priceline.com, did not comply with the

    Regulation because it did not identify accessible rooms, did not allow for booking

    of accessible rooms and provided insufficient information as to whether the rooms

    or features at the hotel are accessible. Hotel amenities, room types and amenities


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          are all listed in detail. No information was given about accessibility in the hotel

          other than the statements “Accessible rooms/facilities” and “Handicapped

          rooms/facilities”.

          G. The website located at: www.agoda.com, did not comply with the Regulation

          because it did not identify accessible rooms, did not allow for booking of

          accessible rooms and provided insufficient information as to whether the rooms or

          features at the hotel are accessible. Hotel amenities, room types and amenities are

          all listed in detail. No information was given about accessibility in the hotel other

          than the statement “Facilities for disabled guests”.

11.       In the near future, Plaintiff intends to revisit Defendant's online reservations

          system in order to test it for compliance with 28 C.F.R. Section 36.302(e). In this

          respect, Plaintiff maintains a system to ensure that she revisits the online

          reservations system of every hotel she sues. By this system, Plaintiff maintains a

          list of all hotels she has sued with several columns following each. She

          continually updates this list by, among other things, entering the dates she did visit

          and plans to again visit the hotel's online reservations system. With respect to

          each hotel, she visits the online reservations system multiple times prior to the

          complaint being filed, then visits again shortly after the complaint is filed. Once a

          judgment is obtained or settlement agreement reached, she records the date by

          which the hotel's online reservations system must be compliant and revisits when

          that date arrives.




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12.       Plaintiff is continuously aware that the subject websites remain non-compliant and

          that it would be a futile gesture to revisit the websites as long as those violations

          exist unless she is willing to suffer additional discrimination.

13.       The violations present at Defendant's websites infringe Plaintiff's right to travel

          free of discrimination and deprive her of the information required to make

          meaningful choices for travel. Plaintiff has suffered, and continues to suffer,

          frustration and humiliation as the result of the discriminatory conditions present at

          Defendant's website. By continuing to operate the websites with discriminatory

          conditions, Defendant contributes to Plaintiff's sense of isolation and segregation

          and deprives Plaintiff the full and equal enjoyment of the goods, services,

          facilities, privileges and/or accommodations available to the general public. By

          encountering the discriminatory conditions at Defendant's website, and knowing

          that it would be a futile gesture to return to the websites unless she is willing to

          endure additional discrimination, Plaintiff is deprived of the same advantages,

          privileges, goods, services and benefits readily available to the general public. By

          maintaining a websites with violations, Defendant deprives Plaintiff the equality

          of opportunity offered to the general public. Plaintiff has traveled throughout the

          State of Connecticut on prior occasions and intends to travel throughout the entire

          State as soon as the Covid crisis is over. This includes the area in which

          Defendant's hotel is located. During her visit, Plaintiff will be staying in hotels. As

          such, Plaintiff needs hotel online reservations systems to be compliant with the

          law so that she can compare hotels and their accommodations and select hotels


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          which are accessible to her. Defendant's online reservations system serves as a

          gateway to its hotel. Because this online reservations system discriminates against

          Plaintiff, it is thereby more difficult to book a room at the hotel or make an

          informed decision as to whether the facilities at the hotel are accessible and

          Plaintiff is deprived of the information and options she requires to make a

          meaningful choice in planning her upcoming travels.

14.       Plaintiff has suffered and will continue to suffer direct and indirect injury as a

          result of the Defendant’s discrimination until the Defendant is compelled to

          modify its websites to comply with the requirements of the ADA and to

          continually monitor and ensure that the subject websites remains in compliance.

15.       Plaintiff has a realistic, credible, existing and continuing threat of discrimination

          from the Defendant’s non-compliance with the ADA with respect to these

          websites. Plaintiff has reasonable grounds to believe that she will continue to be

          subjected to discrimination in violation of the ADA by the Defendant.

16.       The Defendant has discriminated against the Plaintiff by denying her access to,

          and full and equal enjoyment of, the goods, services, facilities, privileges,

          advantages and/or accommodations of the subject website.

17.       The Plaintiff and all others similarly situated will continue to suffer such

          discrimination, injury and damage without the immediate relief provided by the

          ADA as requested herein.

18.       Defendant has discriminated against the Plaintiff by denying her access to full and

          equal enjoyment of the goods, services, facilities, privileges, advantages and/or


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             accommodations of its place of public accommodation or commercial facility in

             violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e). Furthermore, the

             Defendant continues to discriminate against the Plaintiff, and all those similarly

             situated by failing to make reasonable modifications in policies, practices or

             procedures, when such modifications are necessary to afford all offered goods,

             services, facilities, privileges, advantages or accommodations to individuals with

             disabilities; and by failing to take such efforts that may be necessary to ensure that

             no individual with a disability is excluded, denied services, segregated or

             otherwise treated differently than other individuals because of the absence of

             auxiliary aids and services.

19.          Plaintiff is without adequate remedy at law and is suffering irreparable harm.

             Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s

             fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. §

             12205 and 28 CFR 36.505.

20.          Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

             Plaintiff Injunctive Relief, including an order to require the Defendant to alter the

             subject websites to make them readily accessible and useable to the Plaintiff and

             all other persons with disabilities as defined by the ADA and 28 C.F.R. Section

             36.302(e); or by closing the websitesuntil such time as the Defendant cures its

             violations of the ADA.

WHEREFORE, Plaintiff respectfully requests:




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a.   The Court issue a Declaratory Judgment that determines that the Defendant at the

     commencement of the subject lawsuit is in violation of Title III of the Americans

     with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

b.   Injunctive relief against the Defendant including an order to revise its websitesto

     comply with 28 C.F.R. Section 36.302(e) and to implement a policy to monitor and

     maintain the websitesto ensure that it remains in compliance with said requirement.

c.   An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

     § 12205.

d.   Such other relief as the Court deems just and proper, and/or is allowable under

     Title III of the Americans with Disabilities Act.

     Respectfully Submitted,

                                   For the Plaintiff, DEBORAH LAUFER,

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